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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW HAMPSHIRE

      UNITED STATES OF AMERICA                        )
                                                                       23-cr-36-PB-01
                                                      )
                     V.                               )
                                                      )
      STEVEN POWELL                                   )
                                                      )

                                          PLEA AGREEMENT

             Pursuant to Rule 11(c)(1)(B)ofthe Federal Rules ofCriminal Procedure,the United

      States ofAmerica by its attorney, Jane E. Young, United States Attorney for the District ofNew

      Hampshire, and the defendant, Steven Powell,and the defendant’s attorneys, Michael Khouri,

      Esq., pro hac counsel, and Donald Kennedy,Esq.,local counsel, enter into the following Plea

      Agreement:

             1. The Plea and The Offense.

             The defendant agrees to plead guilty to Count One ofthe Information, charging him with

      health care fraud,in violation of 18 U.S.C.§ 1347.

             In exchange for the defendant’s guilty plea,the United States agrees to the sentencing

     stipulation(s) identified in Section 6 ofthis agreement.

             2. The Statute and Elements ofthe Offense.

             Title 18,United States Code, Section 1347 prohibit,in pertinent part:

                    Whoever knowingly and willfully executes, or attempts to execute,a
                    scheme or artifice to defraud any health care benefit program.

             The defendant understands that the offense has the following elements, each of which the

     United States would be required to prove beyond a reasonable doubt at trial:

            First a scheme,substantially as charged in the information,to defraud a health care

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benefit program,to wit, Medicare;

       Second, the defendant’s knowing and willful participation in this scheme with the intent

to defraud; and

       Third, that the scheme was in connection with the delivery of, or payment for, health care

benefits, items, or services.

Pattern Criminal Jury Instructionsfor the District Courts ofthe First Circuit, § 4.18.1347

(2015), available at

https://www.cal.uscourts.gov/sites/cal/fUes/citations/Pattem%20JuTV%20Instructions.pdf.

       3. Offense Conduct.

       The defendant stipulates and agrees that if this case proceeded to trial, the government

would introduce evidence ofthe following facts, which would prove the elements ofthe offense

beyond a reasonable doubt:

       At all times relevant to the charged conduct, Steven Powell was a licensed medical doctor

and enrolled Medicare provider and was required to abide by all Medicare rules and regulations

and federal laws, including that he would not knowingly present or cause to be presented a false

and fraudulent claim for payment by Medicare. Medicare was a federal health care program

providing benefits to persons who were 65 years of age or older or disabled. Medicare is a “health

care benefit program” ofthe United States as defined in 18 U.S.C.§ 24. Furthermore, Medicare is

a health care benefit program affecting interstate commerce.

       Medicare programs covering different types of benefits were separated into different

program “parts.    Part B” of Medicare covered, among other things, durable medical equipment

(“DME”), including certain orthotic devices, such as knee, wrist, back, and shoulder braces


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(collectively, “braces”) that were medically necessary. Medicare prohibited the submission of

claims that were procured through the payment ofillegal kickbacks and bribes.

       Company 1 was a Massachusetts company that operated as a purported telemedicine

staffing company that did business throughout the United States. In or around October 2017,

Powell became employed with Company 1.

       Company 2 was a Florida company that operated as a purported telemedicine company that

did business throughout the United States. In or around December 2018, through an introduction

facilitated by employees ofCompany 1, Powell became employed with Company 2.

       Powell accepted kickbacks from Company 1 in exchange for signing doctors’ orders that

were provided to him electronically via DocuSign, a service allowing individuals to electronically

sign documents, from Company 2 for medically unnecessary DME,including knee, wrist, back,

and shoulder braces. The doctors’ orders consisted ofpre-filled, unsigned prescriptions for DME.

Ultimately, DME companies used the doctors’ orders electronically signed by Powell to submit

false claims to Medicare for DME that were (a) not medically necessary; and(b) not eligible for

reimbursement from Medicare.

       Powell signed the doctors’ orders without a physical examination and without speaking to

the patients for whom he was prescribing DME, and regardless of medical necessity. Company 1

paid Powell approximately $15 per "consult” performed for Company 2, with the expectation that

a “consult” would result in a signed doctors’ order. A “consult” generally consisted ofreviewing

the patient information provided to him electronically via DocuSign from Company 2. Most ofthe

time, Powell would electronically sign the doctors’ orders without even reviewing the patient

information.


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        The doctors’ orders that Powell signed contained false statements, including that Powell

 determined, through his assessment of the Medicare beneficiary, that a particular course of

treatment, including the prescription of braces, was appropriate and medically necessary, that he

 was treating the Medicare beneficiary, had a valid prescriber-physician relationship with the

Medicare beneficiaries, when, in fact, Powell did not did not conduct any assessments of these

Medicare beneficiaries,the braces lacked medical necessity, and he did not have a valid prescriber-

physician relationship with the Medicare beneficiaries.

       For example,on December 14,2018,Powell receivedpre-fiUed, unsigned prescriptions via

DocuSign from Company 2 for a left knee brace, left suspension sleeve, right shoulder brace and

back brace for Medicare beneficiary J.K., a resident ofRhode Island. Without reviewing the orders,

Powell electronically signed the orders, and they were transmitted electronically to Company 2.

Powell was in the District ofNew Hampshire when he electronically signed the orders. Medicare

data reflects that on December 28, 2018, Powell was the referring provider on Medicare claim

number 118365725186001 for a left knee brace and suspension sleeve for J.K. Medicare was billed

approximately $1,173.27 in connection with that claim.

       The doctors’ orders that Powell electronically signed and returned to Company 2 were u^ed

to fraudulently bill Medicare at least $1,908,702.65 for medically unnecessaiy DME. Medicare

paid DME providers approximately $761,202.75 in connection with those claims.

       4. Penalties. Special Assessment and Restitution.

       The defendant understands that the penalties for the offense are:

       A.     A maximum prison term of 10 years per count[18 U.S.C. § 1347];

       B.     A maximum fine of$250,000 or twice the pecuniary gain [18 U.S.C. § 3571];


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      C.        A maximum term of supervised release of three years per count [18 U.S.C.
                § 3583(b)(2)]. The defendant understands that the defendant’s failure to
                comply with any of the conditions of supervised release may result in
                revocation of supervised release, requiring the defendant to serve in prison
                all or part of the term of supervised release, with no credit for time already
                spent on supervised release; and

      D.        A mandatory special assessment of$100, at or before the tune of sentencing[18
                U.S.C. § 3013(a)(2)(A)].

      E.        In addition to the other penalties provided by law, the Court may order the
                defendant to pay restitution to the victim(s) ofthe offense(18 U.S.C. § 3663 or §
                3663A).

                To facilitate the payment and collection of any restitution that may be ordered, the
                defendant agrees that, upon request, he will provide the United States with a
                financial disclosure statement and supporting financial documentation.

                The defendant further agrees that, if restitution is ordered, it shall be due and
                payable immediately after the judgment is entered and is subject to immediate
                enforcement, in full, by the United States. Ifthe Court imposes a schedule of
                payments, the defendant agrees that the schedule ofpayments is a schedule ofthe
                minimum payment due, and that the payment schedule does not prohibit or limit
                the methods by which the United States may immediately enforce the judgment in
                full, including, but not limited to, the Treasury Offset Program.

       5. Sentencing and Application ofthe Sentencing Guidelines.

       The defendant understands that the Sentencing Reform Act of 1984 applies in this case

and that the Court is required to consider the United States Sentencing Guidelines as advisory

guidelines. The defendant further understands that he has no right to withdraw from this Plea

Agreement if the applicable advisory guideline range or his sentence is other than he anticipated.

       The defendant also understands that the United States and the United States Probation

Office shall:

       A.        Advise the Court of any additional, relevant facts that are presently known
                 or may subsequently come to their attention;

       B.        Respond to questions from the Court;

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        c.     Correct any inaccuracies in the pre-sentence report;

        D.     Respond to any statements made by him or his counsel to a probation
               officer or to the Court.

        The defendant understands that the United States and the Probation Office may address

the Court with respect to an appropriate sentence to be imposed in this case.

       The defendant aclcnowledges that any estimate of the probable sentence or the probable

sentencing range under the advisory Sentencing Guidelines that he may have received from any

source is only a prediction and not a promise as to the actual sentencing range under the advisory

Sentencing Guidelines that the Court will adopt.

       6. Sentencing Stipulations and Agreements.

       Pursuant to Fed. R. Crim. 11(c)(1)(B), the United States and the defendant stipulate and

agree to the following:

              (a)     The parties will recommend the following sentencing guideline

                      applications:

Base Offense Level            6       2B 1.1(a)(2)
Loss Amount more than         +16     2BU(b)(l)a)
$1.5M less than $3.5M
More than $1M loss to         +2      2Bl.l(b)(7)(B)(i)
Government health care
program
Abuse of Trust                +2      3B1.3

              (b)     The parties agree that the loss amount under U.S.S.G. § 2B1.1 is

                     $1,908,702.65.

              (c)     The United States will recommend that the defendant be sentenced to a

                     term of46 months’ imprisonment, representing the low-end ofthe parties’


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                      agreed upon guidelines range;

              (d)     The parties have agreed that the defendant shall pay restitution in the

                       amount of$761,202.75, payable to the United States Department of

                       Health and Human Services.

       The defendant understands that the Court is not bound by the foregoing agreements and,

with the aid of a pre-sentence report, the court vdll determine the facts relevant to sentencing.

The defendant also understands that if the Court does not accept any or all ofthose agreements,

such rejection by the Court will not be a basis for the defendant to withdraw his guilty plea.

       The United States and the defendant are free to make recommendations with respect to

the terms of imprisonment, fines, conditions ofprobation or supervised release, and any other

penalties, requirements, and conditions of sentencing as each party may deem lawful and

appropriate, unless such recommendations are inconsistent with the terms of this Plea

Agreement.

        7. Acceptance of Responsibility.

        The United States agrees that it will not oppose an appropriate reduction in the

defendant's adjusted offense level, under the advisory Sentencing Guidelines, based upon the

defendant’s apparent prompt recognition and affirmative acceptance of personal responsibility

for the offense. Tlie United States, however, may oppose any adjustment for acceptance of

responsibility if the defendant:

        A.      Fails to admit a complete factual basis for the plea at the time he is
                sentenced or at any other time;

        B.      Challenges the United States’ offer of proof at any time after the plea is
                entered;


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         c.      Denies involvement in the offense;

         D.      Gives conflicting statements about that involvement or is untruthful with
                 the Court, the United States or the Probation Office;

         E.      Fails to give complete and accurate information about his financial status
                 to the Probation Office;

         F.      Obstructs or attempts to obstruct justice, prior to sentencing;

         G.     Has engaged in conduct prior to signing this Plea Agreement which
                reasonably could be viewed as obstruction or an attempt to obstruct
                Justice, and has failed to fully disclose such conduct to the United States
                prior to signing this Plea Agreement;

        H.      Fails to appear in court as required;

        I.      After signing this Plea Agreement, engages in additional criminal conduct;
                or

        J.      Attempts to withdraw his guilty plea.

        The defendant understands and agrees that he may not withdraw his guilty plea if, for any
                                                                                                        i
of the reasons listed above, the United States does not recommend that he receive a reduction in

his sentence for acceptance ofresponsibility.

        The defendant also understands and agrees that the Court is not required to reduce tlie

offense level if it finds that he has not accepted responsibility.

        Ifthe defendant’s offense level is sixteen or greater, and he has assisted the United States

in the investigation or prosecution of his own misconduct by timely notifying the United Stales

of his intention to enter a plea of guilty, thereby permitting the United States to avoid preparing

for trial and permitting the United States and the Court to allocate their resources efficiently, the

United States will move, at or before sentencing, to decrease the defendant’s base offense level

by an additional one level pursuant to U.S.S.G. § 3El.I(b),
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           8. Waiver of Trial Rights and Consequences ofPlea.

           The defendant understands that he has the right to be represented by an attorney at every

stage ofthe proceeding and, if necessary, one will be appointed to represent him. The defendant

also understands that he has the right:

           A.     To plead not guilty or to maintain that plea ifit has already been made;

           B.     To be tried by ajury and, at that trial, to the assistance ofcounsel;

           C.     To con&ont and cross-examine witnesses;

           D,     Not to be compelled to provide testimony that may incriminate him; and

           E.     To compulsory process for the attendance of witnesses to testify in his
                  defense.

           The defendant understands and agrees that by pleading guilty he waives and gives up the

foregoing rights and that upon the Court’s acceptance of his guilty plea, he will not be entitled to

a trial.

           The defendant understands that if he pleads guilty, the Court may ask him questions

about the offense, and if he answers those questions falsely under oath, on the record, and in the

presence of counsel, his answers will be used against him in a prosecution for peijury or making

false statements.

           9. Acknowledgment of Guilt: Voluntariness of Pjea.

            The defendant understands and acknowledges that he:

            A.     Is entering into this Plea Agreement and is pleading guilty freely and voluntarily because
                   he is guilty;

            B.     Is entering into this Plea Agreement without reliance upon any promise or benefit ofany
                   kind except as set forth in this Plea Agreement or revealed to the Court,

            C.     Is entering into this Plea Agreement without threats, force, intimidation, or coercion;

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       D.      Understands the nature of the offense to which he is pleading guilty,
               including the penalties provided by law; and

       E.      Is completely satisfied 'with the representation and advice received from
               his undersigned attorney.

        10. Scone ofAgreement.

       The defendant acknowledges and understands that this Plea Agreement binds only the

undersigned parties and cannot bind any other non-party federal, state or local authority. The
             \
defendant also acknowledges that no representations have been made to him about any civil or

administrative consequences that may result from his guilty plea. The defendant understands

such matters are solely within the discretion of the specific non-party government agency

involved. The defendant -further acknowledges that this Plea Agreement has been reached

without regard to any civil tax matters that may be pending or which may arise involving the

defendant.

        11. Collateral Consequences.

        The defendant understands that as a consequence of his guilty plea he will be adjudicated

guilty and may thereby be deprived ofcertain federal benefits and certain rights, such as the right

to vote, to hold public office, to serve on a jury, or to possess firearms.

        The defendant understands that, if he is not a citizen of tlie United States, his guilty plea

to the charged offense will likely result in him being subject to immigration proceedings and

removed from the United States by making him deportable, excludable, or inadmissible. The

defendant also understands that if he is a naturalized citizen, his guilty plea may result in ending

his naturalization, which would likely subject him to immigration proceedings and possible

removal from the United States. The defendant imderstands that the immigration consequences

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 ofthis plea wUl be imposed in a separate proceeding before the immigration authorities. The

 defendant wants and agrees to plead guilty to the charged offense regardless of any immigration

 consequences of this plea, even if this plea will cause his removal from the United States. The

 defendant understands that he is bound by his guilty plea regardless ofany immigration

 consequences ofthe plea. Accordingly, the defendant waives any and all challenges to his guilty

plea and to his sentence based on any immigration consequences and agrees not to seek to

 withdraw his guilty plea, or to file a direct appeal or any kind of collateral attack challenging his

guilty plea, conviction, or sentence, based on any immigration consequences of his guilty plea.

        The defendant understands and acknowledges that as a result ofthis plea, the defendant

will be excluded from Medicare, Medicaid, and all Federal health care programs. The defendant

agrees to complete and execute all necessary documents provided by any department or agency

ofthe federal government, including but not limited to the United States Department of Health

and Human Services, to effectuate this exclusion within 60 days ofreceiving the documents.

This exclusion will not affect the defendant’s right to apply for and receive benefits as a

beneficiary under any Federal health care program, including Medicare and Medicaid.

        12. Satisfaction of Federal Criminal Liability: Breach.

        The defendant’s guilty plea, if accepted by the Court, will satisfy his federal criminal

liability in the District ofNew Hampshire arising from his participation in the conduct that forms

the basis of the indictment in this case.

        The defendant understands and agrees that, if after entering this Agreement, he fails

specifically to perform or fulfill completely each one of his obligations under this Agreement,

fails to appear for sentencing, or engages in any criminal activity prior to sentencing, he will


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 have breached this Agreement.

        Ifthe United States, in its sole discretion, and acting in good faith, determines that the

defendant committed or attempted to commit any further crimes, failed to appear for sentencing,

or has otherwise violated any provision ofthis Agreement, the United States will be released

from its obligations under this Agreement,including, but not limited to, any agreement it made

to dismiss charges, forbear prosecution of other crimes, or recommend a specific sentence or a

sentence within a specified range. The defendant also understands that he may not use his breach

ofthis Agreement as a reason to withdraw his guilty plea or as a basis to be released from his

guilty plea.

        13. Waivers.

        A. Appeal.

        The defendant understands that he has the right to challenge his guilty plea and/or

sentence on direct appeal. By entering into this Plea Agreement the defendant knowingly and

voluntarily waives his right to challenge on direct appeal;

        1.     His guilty plea and any other aspect of his conviction,including, but not
               limited to, adverse rulings on pretrial suppression motion(s) or any other
               adverse disposition ofpretrial motions or issues, or claims challenging the
               constitutionality ofthe statute of conviction; and

       2.      The sentence imposed by the Court if it is within, or lower than, the
               guideline range determined by the Court.,

       The defendant’s waiver of his rights does not operate to waive an appeal based upon new

legal principles enunciated in Supreme Court or First Circuit case law after the date ofthis Plea

Agreement that have retroactive effect; or on the ground ofineffective assistance of counsel,

       B, Collateral Review.


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        The defendant understands that he may have the right to challenge his guilty plea and/or

sentence on collateral review, e.g., a motion pursuant to 28 U.S.C. §§ 2241 or 2255. By

entering into this Plea Agreement,the defendant knowingly and voluntarily waives his right to

collaterally challenge;

        1.     His guilty plea, except as provided below, and any other aspect of his
               conviction, including, but not limited to, adverse rulings on pretrial
               suppression motion(s) or any other adverse disposition of pretrial motions
               or issues, or claims challenging the constitutionality ofthe statute of
               conviction; and

        2.     The sentence imposed by the Court if it is within, or lower than, the
               guideline range detemiined by the Court..

        The defendant’s waiver of his right to collateral review does not operate to waive a

collateral challenge to his guilty plea on the ground that it was involuntary or unknowing, or on

the ground of ineffective assistance ofcounsel. The defendant’s waiver of his right to collateral

review also does not operate to waive a collateral challenge based on new legal principles

enunciated by in Supreme Court or First Circuit case law decided after the date ofthis Plea

Agreement that have retroactive effect,

       C. Freedom ofInformation and Privacy Acts.

       The defendant hereby waives all rights, whether asserted directly or througli a

representative, to request or receive from any department or agency of the United States any

records pertaining to the investigation or prosecution ofthe case(s) underlying this Plea

Agreement,including without limitation any records that may be sought under the Freedom of

Information Act,5 U.S.C. §552, or the Privacy Act of 1974,5 U.S.C. §522a.

       D. Appeal by the Government.

       Nothing in this Plea Agreement shall operate to waive the rights or obligations of the

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Govenmient pursuant 18 U.S.C. § 3742(b) to pursue an appeal as authorized by law,

        14. No Other Promises.

       The defendant acknowledges that no other promises, agi’eements, or conditions have been

entered into other than those set forth in this Plea Agreement or revealed to the Court, and none

will be entered into unless set forth in writing, signed by all parties, and submitted to the Court.

       15. Final Binding Agreement.

       None ofthe terms ofthis Plea Agreement shall be binding on the United States until this

Plea Agreement is signed by the defendant and the defendant’s attorney and until it is signed by

the United States Attorney for the District ofNew Hampshire, or an Assistant United States

Attorney.

       16.   Agreement Provisions Not Severable.

       The United States and the defendant understand and agree that if any provision of this

Plea Agreement is deemed invalid or unenforceable, then the entire Plea Agreement is null and

void and no part of it may be enforced.




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                                                       JANE E. YOUNG
                                                       United States Attorney



Date:                                            By: /
                                                      Jo      ennedy
                                                           Bar No. 19557
                                                       Assistant United States Attorney
                                                       53 Pleasant St,4th Floor
                                                       Concord, NH 03301
                                                       John.kennedy@usdoj.gov

        The defendant, Steven Powell, certifies that he has read this 15-page Plea Agreement and
that he fully understands and accepts its terms.
                                                      ’S




Date:     i//ay
                                                      Steven Powell, Defendant

       I have read and explained this 15-page Plea Agi'eement to the defendant, and he has
advised me that he understands and accepts its terms.


Date: /jpni
                                                      Michael Khouri,Esq.
                                                      Pro Hac Counsel for Steven Powell
                                                      Khouri Law Firm APC
                                                      101 Pacifica, Suite 380
                                                      Irvine, California 92618



Date:
                                                      Donald Kennedy, Es^
                                                      Local Counsel for St^ Powell
                                                      Law Office of Donald Kennedy
                                                      908 Hanover Street #1
                                                      Manchester, NH 03104




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